    Case: 4:14-cv-00832-DCN Doc #: 197 Filed: 10/30/18 1 of 3. PageID #: 9416



                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

CHRISTOPHER META, on behalf of himself          )   CASE NO. 4:14-CV-0832
and all others similarly situated,              )
                                                )
               Plaintiff,                       )   JUDGE DONALD C. NUGENT
                                                )
       vs.                                      )
                                                )
TARGET CORPORATION, et al.,                     )
                                                )
               Defendants.                      )
                                                )



                 MOTION TO MODIFY BOND TO SECURE PAYMENT
                  OF COSTS AND ATTORNEYS’ FEES ON APPEAL
                              (FED. R. APP. P. 7)

       Plaintiff moves the Court to modify the bond order against Objector Erich Neumann.

       On September 24, 2018, the Court ordered Neumann and another Objector, Sheila Ference,

to post an Appellate Rule 7 bond. ECF No. 188. Both Neumann and Ference had appealed the

Court’s approval of the class action settlement. The Court ordered that Ference and Neumann “to

each contribute $40,000.00 toward a total bond of $80,000.00 to ensure payment of costs on

appeal.” Id. at PageID #: 9369.

       Ference has since abandoned her appeal. See Doc. 31 in Case No. 18-3828 (6th Cir.).

Because Ference has abandoned her appeal, Plaintiff asks the Court to modify its bond order and

increase the amount of bond Neumann must post to $80,000. As the Court stated in its order, the

$80,000 total covers the costs on appeal. Neumann only had to pay a lower amount, because there

was another appeal. Now that he is the only one pursuing an appeal, Neumann should have to pay

the entire $80,000. To date, Neumann has not paid the $40,000 the Court previously ordered him to




                                               1
    Case: 4:14-cv-00832-DCN Doc #: 197 Filed: 10/30/18 2 of 3. PageID #: 9417



pay. A motion to dismiss his appeal for failure to pay bond is pending before the Sixth Circuit. See

Doc. 24 in No. 18-3840 (6th Cir.).


Dated: October 30, 2018

                                              /s/ Stuart E. Scott
                                              DENNIS R. LANSDOWNE (0026036)
                                              STUART E. SCOTT (0064834)
                                              KEVIN C. HULICK (0093921)
                                              SPANGENBERG SHIBLEY & LIBER LLP
                                              1001 Lakeside Avenue East, Suite 1700
                                              Cleveland, OH 44114
                                              (216) 696-3232
                                              (216) 696-3924 (FAX)
                                              dlansdowne@spanglaw.com
                                              sscott@spanglaw.com
                                              khulick@spanglaw.com


                                              HASSAN A. ZAVAREEI (pro hac vice)
                                              JONATHAN K. TYCKO (pro hac vice)
                                              ANDREW J. SILVER (pro hac vice)
                                              TYCKO & ZAVAREEI LLP
                                              1828 L Street, N.W., Suite 1000
                                              Washington, D.C. 20036
                                              (202) 973-0900
                                              (202) 973-0950 (FAX)
                                              hzavareei@tzlegal.com
                                              jtycko@tzlegal.com
                                              asilver@tzlegal.com


                                              Attorneys for Plaintiff Christopher Meta and the Class




                                                 2
    Case: 4:14-cv-00832-DCN Doc #: 197 Filed: 10/30/18 3 of 3. PageID #: 9418



                                    CERTIFICATE OF SERVICE
       Notice of this filing will be sent by operation of the Court’s electronic filing system to all

parties indicated on the electronic filing receipt. A true and correct copy of the foregoing was served

electronically on Defendants’ counsel of record. Copies will be served on Objectors’ counsel by

electronic mail and/or U.S. Mail.

                                                                /s/ Stuart Scott
                                                                Stuart E. Scott




                                                   3
